






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00024-CR






Hai Ho, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NO. 3011256, HONORABLE BOB PERKINS, JUDGE PRESIDING






M E M O R A N D U M    O P I N I O N




Appellant Hai Ho appeals from orders revoking community supervision and imposing 
concurrent ten-year prison sentences for two counts of aggravated assault.  Tex. Pen. Code Ann.
§&nbsp;22.02 (West 2003.  Ho was originally convicted on his pleas of guilty to the offenses.

Ho's court-appointed attorney filed a brief concluding that the appeal is frivolous and
without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738 (1967), by
presenting a professional evaluation of the record demonstrating why there are no arguable grounds
to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d 807 (Tex.
Crim. App. 1978); Currie v. State, 516  S.W.2d 684 (Tex. Crim. App. 1974); Jackson v. State, 485
S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969). 
A copy of counsel's brief was delivered to Ho, was advised of his right to examine the appellate
record and to file a pro se brief.  No pro se brief has been filed, but a letter from Ho explaining why
he believes the punishment is too harsh has been read and considered by the Court.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The orders revoking community supervision are affirmed.



				__________________________________________

				Bea Ann Smith, Justice

Before Chief Justice Law, Justices B. A. Smith and Puryear

Affirmed

Filed:   August 14, 2003

Do Not Publish


